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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

 ------------------------------------------------        .
 UNITED STATES OF AMERICA,                               : CASE NO. 5:05 CR 0131-048
                                                         :
                                             Plaintiff   :
                                                         :
                         -vs-                            : ORDER ADOPTING REPORT AND
                                                         : RECOMMENDATION
 ROSS CIPOLLA                                            :
                                                         :
                                         Defendant       :
 ------------------------------------------------        .

UNITED STATES DISTRICT JUDGE LESLEY WELLS



         This matter was referred to United States Magistrate Judge William H.

Baughman, Jr. for a supervised release violation hearing for the purpose of returning a

Report and Recommendation (R&R), pursuant to 28 U.S.C. § 636(b)(1)(B). Following a

hearing in which Mr. Cipolla was represented by counsel, Magistrate Judge Baughman

returned a recommendation that the defendant knowingly and voluntarily admitted the

supervised release violations presented in the violations report. (Doc. 1394).

        Further, Magistrate Judge Baughman recommended Mr. Cipolla’s supervised

release be continued as the Defendant has, since his initial appearance, compiled with

all terms of supervision imposed.
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       The government’s attorney and the defendant’s counsel have notified the Court

they have no objection to Magistrate Judge Baughman’s R&R. Accordingly, this Court

shall, hereby, adopt the Report and Recommendation continuing Mr. Cipolla’s

conditions of release.




       IT IS SO ORDERED.

                                                 /s/Lesley Wells
                                              UNITED STATES DISTRICT JUDGE

Date: 31 May 2012
